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 I   JUSTIN S. BECK                                                             FILED
 2
     3501 ROSELLE ST.
     OCEANSIDE, CA 92056
     760-449-2509
                                                                            I     JAN O9 2023
 3
     justintimesd@gmail.com                                              CLERK U.S. DISTRICT COURT
                                                                      SOUTHERN DISTRICT OF CALIFORNIA
 4   In Pro Per + Guardian Ad Litem                                  BY                         DEPUTY

 5                                 UNITED STATES DISTRICT COURT
 6                                            FOR THE
 7                            SOUTHERN DISTRICT OF CALIFORNIA
 8
                                                       Case No.: 3:22-CV-01616-BAS-DDL
 9   JUSTIN S. BECK, individually, and
     as guardian ad !item to ROES 1-150,000, and       Hon. Cynthia A. Bashant
IO   as guardian ad !item to U.S.A.
                                                       Courtroom: 4B (4th Fir.)
11
                      Plaintiff,                       NO ORAL ARGUMENT UNLESS
12                                                     ORDERED BY THE COURT

13
            vs.                                    ~
                                             EX PARTE APPLICATION FOR
     CATANZARITELAWCORPORATION;
      STATE OF CALIFORNIA; THE STATE BAR ~~
14                                           TEMPORARY RESTRAINING ORDER
15    OF CALIFORNIA; ORANGE COUNTY           Filed Concurrently With:
      SUPERIOR COURT; ORANGE COUNTY


                                                   I
16    DISTRICT ATTORNEY'S OFFICE; RUBEN   )~        1) Declaration of Justin S. Beck in
     DURAN, ESQ.; SUZANNE CELIA GRANDT,             Support of Application for Temporary
17                                                  Restraining Order
     ESQ.; RICHARD FRANCIS O'CONNOR, JR.;
18   MOHAMMED ZAKHIREH; JAMES DUFFY;                2) Exhibits in Support of Application for
     KENNETH CATANZARITE, ESQ.; JIM                 Temporary Restraining Order, Summary
19   TRAVIS TICE, ESQ.; NICOLE MARIE      )         Judgment Motion, and Trial
20    CATANZARITE WOODWARD, ESQ.;         )
     BRANDON WOODWARD, ESQ.; TIM JAMES )
21   O'KEEFE, ESQ.; AMY JEANETTE COOPER; ~
      CLIFF HIGGERSON; JAMES DUFFY, ELI   )
22   DAVID MORGENSTERN, ESQ.; LEAH
23   WILSON, ESQ.; ROBERT GEORGE RETANA, ~
     "ESQ.; ELLIN DAVTYAN, ESQ.; JOHN C.  )
24   GASTELUM; JORGE E. NAVARETTE;        )

25

26
     GEORGE SARGENT CARDONA, ESQ.;
     ANTHONY B. SCUDDER
                                          ~
                                                   i
                       Defendants,


                                                   ~
27
28
                                                   {
                                                                                  22-CV-1616-BAS-DDL
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     1   ATTORNEY GENERAL OF THE UNITED
         STATES; STATE OF CALIFORNIA; UNITED
 2       STATES OF AMERICA:
 3
                       Nominal Defendants
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     1               EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER
 2                COME NOW Justin S. Beck in his capacity as guardian ad !item ("movant") to UNITED
 3        STATES OF AMERICA ("U.S"), with one request individually (Docket #7, PagelD.529, 13:15), for a
 4        temporary restraining order ("TRO") with 83.3(g) decl. in support, first amended complaint as being
 5       extraordinary circumstances to ensure the conduct at issue is not concealed or continued ("application").
 6                The application is made on the grounds that defendants acting for The State Bar of California
 7       ("STATE BAR"): RUBEN DURAN, ESQ., Chairman of Board of Trustees ("DURAN"); SUZANNE
 8       CELIA GRANDT, ESQ., Assistant General Counsel ("GRANDT"); ELLIN DAVTYAN, ESQ.,
 9       General Counsel ("DAVTYAN"); ROBERT GEORGE RETANA, ESQ., Assistant General Counsel
10       ("RETANA"); ELI DAVID MORGENSTERN, ESQ., Senior Trial Counsel ("MORGENSTERN");
11       LEAH WILSON, ESQ., Executive Director ("WILSON"); GEORGE SARGENT CARDONA, ESQ.,
12       Chief Trial Counsel ("CARDONA") (together "GOV. ATTORNEYS"); are actively causing and
13       concealing liability and irreparable harm to: !) STATE OF CALIFORNIA ("STATE"); 2) U.S. under
14       Bolling v. Sharpe, 347 U.S. 497, (1954) P. 499; 3) U.S. under N.C. State Bd of Dental Examiners v.
15       Fed Trade Comm'n, 574 U.S. 494, (2015); 4) STATE and U.S. under California Assembly Bill 3249.
16               Specifically, GOV. ATTORNEYS are unlawfully advancing the interests of each other using
17       funds from licensees while stealing from U.S. citizens, and carrying on unquestionably criminal conduct
18       by mail and wire of 700+ CLUB including David Lira and CATANZARITE LAW CORPORATION
19       ("CLC"): KENNETH CATANZARITE, ESQ. ("KJC"); JIM TRAVIS TICE, ESQ. ("JTT"); NICOLE
20       MARIE CATANZARITE WOODWARD, ESQ. ("NMC"); BRANDON WOODWARD, ESQ ("BW");
21       TIM JAMES O'KEEFE, ESQ. ("TJO") (together, the "CATANZARITE ATTORNEYS").
22               Clear and convincing evidence shows an intercorporate and intracorporate RICO conspiracy
23       violative of 18 U.S.C. § 1962(d) and 15 U.S.C. § I between GOV. ATTORNEYS, CATANZARITE
24       ATTORNEYS, STATE BAR and CLC. Webster v. Omnitron Int'/, 79 F.3d 776, 787 (9 th Cir. 1996)
25       (quoting with approval Ashland Oil, Inc. v. Arnett, 875 F.2d 1271 (7 th Cir. 1998), for the proposition
26       that "intracorporate conspiracies ... threaten RICO's goals of preventing the infiltration of legitimate
27       businesses by racketeers and separating racketeers from their profits.") This Court must use all its
28       powers for the U.S., if not for Plaintiff, as defendants do not care about justice, due process, or the truth.


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     1   I.      TRO IS APPROPRIATE TO ENJOIN ONGOING, PARALLEL CONDUCT AT ISSUE
 2               There is no on-point case preceding this application because STATE BAR's judicial monopoly
 3       and the collateral attack present of State Bar Court described in the verified first amended complaint at
 4       Docket #7 has previously kept U.S. Courts from understanding the unconstitutionality, establishment,
 5       and carrying onofattorney schemes to defraud the citizenry and U.S. under 18 U.S.C. § 371. Butmovant
 6       is not an attorney and has thus far evaded such collateral attack. DOE, Docket #7, pp. 27-40. Ex. 1.
 7              Movant provided written and oral notice as set out in his declaration, but this Court is authorized
 8       to issue the TRO without written or oral notice under F.R. 65(b) and (d) against STATE BAR, CLC,
 9       GOV. ATTORNEYS, and CATANZARITE ATTORNEYS, which applies further to "(2) only the
10       following who receive actual notice of it by personal service or otherwise: (A) the parties; (B) the
11       parties' officers, agents, servants, employees, and attorneys; and (C) other persons who are in active
12       concert or participation with anyone described in Rule (d)(2)(A) or (B)." TRO would assist this.
13              The application and first amended complaint ("FAC") Docket #7 and declaration in support of
14       TRO also set out specific facts supported by documentary exhibits as proof to exceed the burden.
15       Movant seeks that all attorney defendants adhere to the Court rules and the law. The conspiracy involves:
16              18 U.S.C. § 1952(a)(l) holds. in relevant part as set forth in the FAC at Docket #7. p. 23:
17              "Whoever travels in interstate or foreign commerce or uses the mail or any facility in
                interstate or foreign commerce, with intent to--{!) distribute the proceeds of any
18
                unlawful activity; and thereafter performs or attempts to perform--(A) an act described
19              in paragraph (1) or (3) to [otherwise promote, manage, establish, carry on, of any
                unlawful activity [] shall be fmed under this title, imprisoned not more than 5 years, or
20              both; [and] (b) As used in this section (i) "unlawful activity" means [] (2) extortion,
                bribery, or arson in violation of the laws of the State in which committed or of the United
21
                States or (3) any act which is indictable under subchapter II of chapter 53 of title 31,
22              United States Code, or under section 1956 or 1957 of this title and (ii) the term "State"
                includes a State of the United States, the District of Columbia, and any commonwealth,
23              territory, or possession of the United States." Ex. 1. Ex. 40.
24
                18 U.S.C. § 1952(a)(3) holds, in relevant part as set forth in the FAC at Docket #7. p. 24:
25
                "Whoever ... uses the mail or any facility in interstate or foreign commerce, with intent
26              to-(!) distribute the proceeds of any unlawful activity; or ... (3) otherwise promote,
                manage, establish, carry on, or facilitate the promotion, management, establishment, or
27              carrying on, of any unlawful activity, and thereafter performs or attempts to perform (A)
                an act described in paragraph (I) or (3) shall be fined under this title, imprisoned not
28
                more than 5 years, or both." Ex.130,pp. 25-74 lists 204 instances of this violation.

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     I           (A) Specific Facts Clearly Show Immediate and Irreparable U.S. Injury, Loss, or Damage

 2               1. STATE BAR Actually Knew About Girardi Compromise of Judiciary in 2014, Carried it On

 3       Ex. 1 shows actual knowledge. Ex. 130 shows carrying on. Ex. 42 shows acute, ongoing harm to U.S.
 4               2. STATE BAR Actually Knows About David Lira Now, 700+ CLUB, Yet Carries Each On
 5       Ex. 41 shows another RICO action. Ex. 42 shows the harm. Ex. 16 shows carrying on. Docket #7.
 6               3. STATE BAR Actually Knows About CATANZARITE ATTORNEYS, Yet Carries Each On
 7       Ex. 31, 130 actual knowledge. Ex. 26, 94 shows carrying on. Ex. 120 shows conspiracy. Docket #7.
 8               4. DURAN Still Delivers Materially False Statements by Wire to Defraud the Public and U.S.
 9       Ex. 130 shows conspiracy when compared to Lira, CATANZARITE ATTORNEYS, others shown.
IO               5. RETANA, GRANDT, and NAVARETTE Freely Obstruct Federal Justice with Impunity
11       Ex. 71 actual knowledge 11/29/22. Ex. 55, Ex. 60, Ex. 61-68 wire fraud, obstruction, conspiracy.
12               6. GOV. ATTORNEYS Disregard Binding Decisional Law of United States Supreme Court
13       Ex. 60 disregards N.C. State Bd. ofDental Examiners v. Fed. Trade Comm'n, 574 U.S. 494, (2015).
14               7. Defendant KJC Seeks to Unlawfully Appear for Himself and Coerced Non-Attorney Pawns
15       Ex. 132 shows ANTHONY B. SCUDDER, non-attorney defendant harm, conspiracy, control.
16               8. Defendant RETANA Seeks to Unlawfully Appear for STATE BAR, GRANDT, WILSON
17       Ex. 134 RETANA conspiracy w/WILSON, GRANDT, MORGENSTERN (inferences re: DURAN).
18              9. BOT. OCTC, and OGC Establish, Carry On 44 Injuries Per Day in STATE BAR Conspiracy
19       Ex. 136 shows 44 injuries daily caused by unlawful activity carried by STATE BAR via mail fraud.
20               I 0. DAVTYAN Overtly Sought to Intimidate, Control Enterprise, and Conceal by Mail/Wire
21       Ex. 103 RICO conspiracy proven from Ex. 20, control enterprise, obstruct justice, malice, Docket #7
22               11. Enterprise Patterns of Racketeering Activity are Proven by Convictions Shown in Deel.
23       Ex. 30 carried on. Ex. 38, 39 wire fraud, manufactured evidence. Ex. 49 "insurance fraud scheme" with
24       Ex. 50 carried on. Ex. 51 fraud, money laundering. Ex. 52, carried on for nearly 3-years. Ex. 81 "sham
25       court documents, like CATANZARITE ATTORNEYS, OGC. Ex. 82, 83 wire fraud carried on. Ex. 44,
26       46 convictions, carried on, 11 felonies involving conspiracy and insurance fraud. Docket #7.

27              12. PORA of CATANZARITE ATTORNEYS Shown by Cal. Rule of Court 8.1115(b)(l)-(2)
28       Ex. 3, Ex. 5, Ex. 31, Ex. 32, Ex. 36, carried Ex. 26, conspiracy, Ex. 120, invested, Ex. 40. Docket #7


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     1           (B) Movant Certifies Notice and Extraordinary Reasons Why Notice is Not Reqnired
 2               Notice was provided but F. R. 65(b)(l) holds "[t]he court may issue a temporary restraining
 3       order without written or oral notice to the adverse party or its attorney only if: (A) specific facts in an
 4       declaration or a verified complaint clearly show that immediate and irreparable injury, loss, or damage
 5       will result in the movant before the adverse party can be heard in opposition; and (B) the movant's
 6       attorney certifies in writing any efforts made to give notice and the reasons it should not be required."
 7               I. Movant Delivered Notice to Defendants in Good Faith, Requested Read Receipt, and Called
 8               Movant sent this application to every defendant and adverse party in good faith. Deel, ,r 3-13.
 9               2. Movant's Primary Requested Relief is for Defendants to Stop Breaking the Law and Rules
10               Adverse parties can't be prejudiced where the relief is that they obey the law and Court rules.
11               3. Movant Unduly Prejudiced, as State Bar's Monopoly Prevents Him from Obtaining Counsel
12               No attorney can represent movant, as they would destroy their career, even sent to jail. Id. ,r 26.
13               4. Movant's Request for U.S. Marshal Service Reduces Conspiracy, Concealment, U.S. Harm
14               Movant is likely to prevail on claims for U.S., and no party is prejudiced by service they avoid.
15               5. Movant's Request for Money Judgment Against STATE is hnmaterial, Owed Him Anyway
16               Movant likely to prevail individually, owed converted policies of $1.282 million by STATE.
17               6. Office of Attorney General for STATE Must Reduce Future STATE, U.S. Liability, Harm
18               BOT, OGC, STATE BAR have no credibility here. Sovereign must act for U.S. and STATE.
19               7. CATANZARITE ATTORNEYS Engage in Criminal Conduct with Impunity, Conspiracy
20               Causing irreparable harm to their own clients, each must be enjoined and disbarred, here.
21       II.     ARGUMENT
22               A. State Bar's Board of Trustees Prohibited from Advancing BOT, CLC, OGC Interests
23               Cal. Assembly Bill No. 3249, Chapter 659, filed with Cal. SOS Sep. 21, 2018 ("AB 3249") holds
24       in relevant part "(!) The State Bar Act.. .(2) ... requires protection of the public to be the highest priority
25       for the State Bar and the board of trustees in exercising their licensing, regulatory, and disciplinary
26       functions" where movant Plaintiff is a member of the public within the protected class. Docket #7,
27       PageID.412, ,r 42. AB 3249 eliminated "the authorization of the board to aid in all matters that may
28       advance the professional interests of' CATANZARITE ATTORNEYS, GOV. ATTORNEYS, CLC.


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     1          Board of trustees for STATE BAR, which controls GOV. ATTORNEYS, are prohibited from
 2       advancing the interests of CATANZARITE ATTORNEYS or CLC as they have thus far done. Ex. 31,
 3       130 actual knowledge. Ex. 26, 94 shows carrying on. Ex. 120 shows conspiracy. Docket #7.
 4              B. CRPC 1.7(d)(3) and ABA 1.7 Both Prohibit Adverse Representation Here Anyway
 5              I. KJC Tried to Waive Service for CLC. NMC. BW. TJO. and Non-Attorneys He Has Extorted
 6             Part of the fraudulent scheme relies upon this "evidence," Ex.132,pp. 002-007. Before that:
 7             Thus, to briefly recap, at this point Catanzarite's concurrent and successive representation
               of adverse parties included the following: (1) Catanzarite was representing the Roots'
 8             elder abuse lawsuit against CTI [AMY COOPER, CLIFF HIGGERSON, ANTHONY B.
 9             SCUDDER, RICHARD FRANCIS O'CONNOR, JR., and Plaintiff! as well as a
               derivative action against MFS [through which it obtained private information, without
10             standing, Ex. 138, pp. 11-3 where Jolly Roger, Inc. was an MFS shareholder, not Root];
               (2) Catanzarite had made a deal with a handful of CTI Founders to dismiss them from
11
               the Pinkerton Action [without Court approval, while "tolling claims" to "bring later"];
12             (3) it became MFS's counsel of record [to avoid a motion for security by using a threat
               of fear and color of official right to manufacture evidence and commit securities fraud];
13             (4) Catanzarite filed a derivative shareholder lawsuit for MFS, claiming 100 percent
               control and ownership of CTI, despite having lawsuits filed by other people claiming to
14
               be MFS shareholders; and (5) after filing two derivative shareholder lawsuits,
15             Catanzarite filed a third derivative action (the Mesa Action) [now carried on by STATE
               BAR through JIM TRAVIS TICE, ESQ.] claiming to represent a different set of outsider
16             shareholders, i.e., a class of derivative shareholders willing to join in the MFS Action but
17             also independently seeking damages from CTI, its current shareholders, and board[]."

18                     Beck v. Catanzarite Law Corp., No. G059766, 16 (Cal. Ct. App. Jul. 13, 2022)
19
               In its reply, [counsel for CTI] addressed Catanzarite's assertion its representation of other
20             clients was not adverse to CTI. "[Catanzarite] cannot ethically represent certain
               shareholders suing defendant/cross-complainant [CTI] in shareholder derivative actions,
21             shareholder class actions, and making motions to appoint a receiver to control
22             [CTI] while at the same time acting as legal/litigation counsel ofrecordfor CTI directly.
               Rule of Professional Conduct, rule 1.7 expressly prohibits a lawyer from so representing
23             clients with such direct and adverse interests at tl1e same time. When, as here, the lawyers'
               clients' interest are so directly adverse, the clients cannot even consent to such joint
24             representation, because it makes the entire judicial machinery appear unfair." ... the
25             drastic measure of seeking a receivership [through HIGGERSON and COOPER] in the
               shareholder derivative Mesa Action was "adverse to the corporation's interests" due to
26             the "extravagant costs." CTI argued the request was "similar to claiming 'we had to
               destroy the village in order to save it.'"
27
                      Fincanna Capital Corp. v. Cultivation Tech.,
28
                              No. G058700, 10-11 (Cal. Ct. App. Jun. 28, 2021)


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     1           2. ROBERT RETANA Tried to Waive Service for Select GOV. ATTORNEYS After AB 3249
 2               In an active conspiracy to conceal personal and state liability while enabling DURAN to appear
 3       in a January 6, 2023, BOT meeting about STATE BAR finances without disclosing the instant action or
 4       two related cases removed to federal Court on January 5, 2023 - RETANA tried to waive service as
 5       described in Plaintiffs complaint at Docket #7, PageID.513, 1:12. Shown in Ex. 134, pp. 002-007.
 6               3. GOV. ATTORNEYS and CATANZARITE ATTORNEYS Can't Continue U.S. Predation
 7               Each are conspiring to defraud the U.S. in violation of 18 U.S.C. § 371 and 15 U.S.C § I, here.
 8
         ""'Normally, an attorney's conflict is imputed to the law firm as a whole on the rationale 'that attorneys,
 9       working together and practicing law in a professional association, share each other's, and their clients',
         confidential information."' [Citation.]" (Beachcomber Management Crystal Cove, LLC, v. Superior
10
         Court (2017) 13 Cal.App.5th 1105, ll 16 (Beachcomber Management). Accordingly, the
11       disqualification ruling made as to Catanzarite is binding on the associates of that finn [including Tice]."

12               Fincanna Capital Corp. v. Cultivation Tech., No. 0058700, 17 n.7 (Cal. Ct. App. Jun. 28, 2021)
         "There are different disqualification standards for attorneys who have conflicts with former clients and
13       those who have conflicts with current clients. As to ... former clients, courts look to whether there is a
          'substantial relationship' between the subjects of the current and the earlier proceedings. [Citations.] [~
14
         In contrast, there is a more stringent standard when an attorney simultaneously represents two current
15       clients with conflicting interests. Disqualification... is mandatory in such circumstances even though the
         simultaneous matters may have nothing in common. (Flatt, stpra, 9 Cal.4th at p. 284.) "'Something
16       seems radically out of place if a lawyer sues one of the lawyer's own present clients on behalf of another
         client. Even if the representations have nothing to do with each other, so that no confidential information
17
         is apparently jeopardized, the client who is sued can obviously claim that the lawyer's sense ofloyalty
18       is askew.'" [Citation.]" (Banning Ranch, supra, 193 Cal.App.4th atpp. 911-912; see Rules Prof. Conduct
         rule 1.7(a) & (b) [attorney may not without informed written consent "represent a client if the
19       representation is directly adverse to another client in the same or a separate matter" or "there is a
         significant risk the lawyer's representation of the client will be materially limited by the lawyer's
20
         responsibilities to or relationships with another client"].)
21               Fincanna Capital Corp. v. Cultivation Tech., No. 0058700, 17-18 (Cal. Ct. App. Jun. 28, 2021)
22       "In summary, courts recognize the "chief fiduciary value jeopardized" in cases involving successive
         representation is client confidentiality. (M'Guinness v. Johnson (2015) 243 Cal.App.4th 602, 613.)
23       Whereas in concurrent "representation of multiple clients resulting in a conflict of interest" the "'primary
         value at stake"' is the attorney's duty and "the client's legitin1ate expectation" of loyalty, not
24
         confidentiality." Catanzarite extorted information on CTI, then represented CTI, now represents MFS.
25              Fincanna Capital Corp. v. Cultivation Tech., No. 0058700, 18 (Cal. Ct. App. Jun. 28, 2021)
26       "It is noteworthy that CTI's directors who were members of the Probst Faction hired Winget to defend
         CTI in the three shareholder derivative actions (the [fraudulent] Pinkerton, MFS, and Mesa Actions).
27       Catanzarite does not suggest these directors lacked authority to retain Winget as CTI's corporate counsel
         in fuese lawsuits."
28
                Fincanna Capital Corp. v. Cultivation Tech., No. 0058700, 22 n.10 (Cal. Ct. App. Jun. 28, 2021)

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     I           C. KJC Does Not Care About the Truth Due to Control Acquired by PORA of Enterprise
 2
          "In July 2011, Catanzarite substituted into five actions pending in Los Angeles Superior Court,
 3        representing a group of clients that included Ronald Weinstock. Catanzarite alleged it had a written fee
          agreement with these clients providing that the firm would be paid on contingency. Its compensation
 4        was to include membership interests in Newlife Sciences, LLC, at that point in the (allegedly wrongful)
 5        possession of some of the adverse parties. Catanzarite also alleged it had a lien on any recove1y in the
          five Weinstock actions." Catanzarite filed an adversary complaint against O'Connor on behalf of Denise
 6        Pinkerton, in furtherance of this New Body scheme, too, to extort him into creating false evidence.
 7         Catanzarite Law Corporation v. Gordon Reese, LLP, No. 0047968, 2-3 (Cal. Ct. App. Oct. 15, 2013)
          "Kenneth Catanzarite appeals the denial of relief from a judgment of the bankruptcy comt TI1e district
 8
          court affirmed the award of sanctions against Catanzarite for violating a preliminary injunction that
 9        barred "the commencement of any further actions under the same or similar facts or circumstances to"
          lawsuits he had filed against bankruptcy creditors. The district court also rnled that Catanzarite forfeited
10        his opportunity to object to the amount of sanctions imposed. We affirm."
11          Catanzarite v. GCL, LLC, No. 21-12766, I (1 I th Cir. Mar. 9, 2022)
         "Catanzarite, an attorney licensed in California and [carried on] to appear pro hac vice in the bankrnptcy
12
         court, filed adversary complaints against the Daymark companies for Richard Carlson" Catanzarite v.
13       GCL, LLC (In re Daymark Realty Advisors, Inc.), No. 21-12766, 2 (1 ] th Cir. Mar. 9, 2022) "Catanzarite
         filed nine putative class action complaints for the Carlson plaintiffs in California and Utah
14       courts" Catanzarite v. GCL, LLC (In re DaymarkRealtyAdvisors, Inc.), No. 21-12766, 2 (l I'h Cir. Mar.
         9, 2022) The bankrnptcy court ruled that Catanzarite, as counsel for and in active concert with the
15       Carlson plaintiffs, seeFed. R. Civ. P. 65(d)(2)(B), violated the injunction by filing a civil action and !is
16       pendens for the Looper plaintiffs "based upon TIC ownership interests in the Congress Center," which
         was the same subject "matter[] explicitly enjoined by the Second Preliminary Injunction Order." And
17       the bankrnptcy court stated that it earlier had sanctioned Catanzarite for creating a website containing
         false and misleading statements about the Daymark bankrnptcy." Cadson wasn't seeking counsel!
18
             Catanzarite v. GCL, LLC., No. 21-12766, 3-4 (11th Cir. Mar. 9, 2022)
19
          "The district court rnled that, "Ullder the plain language ofRule 65(d)(2)(B). [Catanzarite], as the
20        attorney for the enjoined Carlson [plaintiffs], was bound by the Preliminary Injunction" and violated it
          by filing an action "based on similar ownership interests and the same or similar facts or
21       ·circUlllstances."" [pattern of rncketeel'ing activity] Catanzarite v. GCL, LLC (In re Daymark Realty
          Advisors, Inc.), No. 21-12766, 5 (11th Cir. Mar. 9, 2022) Catanzarite violated the injunction. The
22        injunction expressly prohibited "the co1J11J1encement of any further actions under same or similar facts
23        or circumstances to the Subject Lawsuits." Two of the subject lawsuits involved Mikles creditors
          mishandling investors' tenancy-in-co1J11J1on interests in the Congress Center. In the complaint and !is
24        pendens, Catanzarite repeated many of the facts and legal arguments made in the subject lawsuits.
25            Catanzarite v. GCL, LLC, No. 21-12766, 7 (11th Cir. Mar. 9, 2022)
         "Catanzarite argues that he was denied due process with respect to the award to the Trustee" Catanzarite
26       v. GCL, LLC (In re Daymark Realty Advisors, Inc.), No. 21-12766, 8 (11th Cir. Mar. 9, 2022) "The
27       bankruptcy court ensured that its awards were "calibrated to tl1e damages caused by" Catanzarite's
         noncompliance by limiting the award to "cover[ing] the legal bills that the litigation abuse
28       occasioned." Goodyear Tire&RubberCo. v. Haeger, 137 S.Ct. 1178 1186 (2017)"
              Catanzarite v. GCL, LLC, No. 21-12766, 9 (11th Cir. Mar. 9, 2022)
                                                              7                            22-CV-1616-BAS-DDL
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 1           D. State Bar's Office of General Counsel Deliberately Obstructs Justice with Impunity
 2           GOV. ATTORNEYS can't exculpate their own conflicts appearing for STATE BAR, where:
 3    "[]Catanzarite[] ... ignores the fact CTI [MFS, and The State Bar of California are not individuals] but
      rather [] inanimate corporate [entities] having a board of directors [or trustees] with authority to hire
 4    corporate counsel. Catanzarite's authority to represent [MFS, then CTI, and now MFS again to re-file
      claims while disregarding this Court, using The State Bar of California in conspiracy arises] from its
 5
      relationship with the O'Connor Faction [and at least defendant ELI DAVID MORGENSTERN and Jorge
 6    Navarette of California Supreme Court who enable the crimes despite their actual knowledge thereof]."

 7       Fincanna Capital Corp. v. Cultivation Tech., No. 0058700, 22-23 (Cal. Ct. App. Jun. 28, 2021)
             1. RETANA and GRANDT Cannot Be Trusted Here. Either
 8
             Consistent with enterprise patterns, GRANDT and RETANA have previously defrauded a
 9
     federal judge while showing reality of the unconstitutional "State Bar Court." Ex. 2,pp. 001-014.
10
             2. DAVTYAN is Complicit with RETANA. GRANDT. and CATANZARITE ATTORNEYS
11
             In conspiracy as each agree to overt acts or conceahnent of criminal conduct. first GRANDT
12
     reveals the unlawful unity of interests within STATE BAR among DURAN, CARDONA, WILSON,
13
     and OGC. Ex. 120. Then GRANDT seeks to conceal it with malice. Docket #7, PageID.496, 1:13.
14
             Failing, DAVTYAN tries to intimidate Plaintiff by threatening letter delivered by postal mail
15
     and wire to defraud him, the public, U.S., and to conceal everything while concurrently seeking to
16
     control the enterprise. 18 U.S.C. §§ 1962(b) and (d). Ex. 103. Docket #7, PageID.497, 1 :23.
17
             E. Attorney Defendants Charged with Felonies, Require Permission to Represent Others
18
             Civ. L. R. 2.2(b )(1) holds"[a]ny attorney charged with ... a felony must report the charge ... within
19
     fourteen (14) days to the Clerk of Court. Each of the CATANZARITE ATTORNEYS and GOV.
20
     ATTORNEYS are charged with multiple felonies, here. Under Civ. L.R. 2.2(b)(3), each being a "non-
21
     court appointed attorney charged with a felony must show cause why they should not be removed from
22
     any pending civil or criminal case due to a conflict of interest." Before any of them can appear in this
23
     case, "[i]t will be the attorney's burden to demonstrate to each judge assigned a case on which the
24
     charged attorney wishes to appear that there is no conflict and the attorney can appropriately discharge
25
     their duties to the client." This is not possible here, as the conflicts are already made manifest as above.
26
            F. Attorney Defendants Lack "Good Moral Character," Cannot Represent Others Here
27
             GOV. ATTORNEYS and CATANZARITE ATTORNEYS each lack "good moral character,"
28
     and are thereby barred from "continuing membership" in this Court. Civ. R. 83.3(c)a). Docket #7.

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     1       III.    RELIEF REQUESTED BY TRO, PLUS ANY OTHER RELIEF COURT DEEMS JUST
 2                   Movant, STATE, and "United States Attorney [are] the representative not of an ordinary
                     party to [this application, motion, and case], but of a sovereignty whose obligation to
 3
                     govern impartially is as compelling as its obligation to govern at all; and whose interest,
 4                   therefore, in a criminal prosecution [and civil action on behalf of the United States under
                     federal antitrust law] is not that it shall win a case, but that justice shall be done. As such,
 5                   he is in a peculiar and very definite sense the servant of the law, the twofold aim of which
                     is that guilt shall not escape or innocence suffer."
 6
                                                                Berger v. United States, 295 U.S. 78, 88 (1935)
 7
                     The United States has been subject to antitrust violations by STATE BAR due to its control of a
 8
             RICO enterprise acquired and maintained through a pattern of racketeering activity. 18 U.S.C. §
 9
             1962(b). STATE BAR has done so in conspiracy with BOT, OGC, Girardi-Keese, CLC,
10
             CATANZARITE ATTORNEYS, GOV. ATTORNEYS, and 700+ CLUB. Docket #7, PagelD.413-4.
11
         Through violations of confidentiality, lacking loyalties, and absolute disregard of public rights, equity,
12
         Courts, judicial officers, and the legal profession - each seek to continue their patterns in this Court.
13
                     Plaintiff has suffered for four years, and the United States has suffered for at least twenty.
14
         Plaintiff deserves $1.282 million money judgment against STATE for converted policies, and U.S.
15
         Marshals should be ordered to direct priority service of summons, complaint, and the TRO upon each
16
         of the defendants. Movant, as U.S. guardian ad !item, is likely to prevail on antitrust claims. Where this
17
         application is filed for U.S., no security on TRO is required. F. R. 65(c). U.S. should pay U.S. Marshals.
18
                     1. Enjoin GOV. ATTORNEYS from Representing Anyone but Themselves in this Case
19
                    2. Enjoin CATANZARITE ATTORNEYS from Representing Non-Attorneys in this Case
20
                    3. Order BOT. OGC to Notify All STATE BAR Employees. Officials. Public ofFAC. TRO 1
21
                    4. Order CATANZARITE ATTORNEYS to Notify All Their Clients and Staff of FAC. TRO 2
22
                    5. Order STATE BAR to Prove Written Notice ofTRO/FAC as Above
23
                    6. Order CATANZARITE ATTORNEYS to Prove Written Notice ofTRO/FAC as Above
24
                    7. Order Attorney General for STATE to Assume/Hire Defense of STATE BAR in this Case
25
                    8. Order U.S. Marshals to Effect Priority Service of Summons. Complaint. and TRO for U.S.
26
                    9. Order Money Judgment to Justin S. Beck against STATE for Fees Converted to Entetprise
27
28       1
             STATE BAR, OGC, BOT have had, and have confirmed receipt of, a preservation of evidence letter since 10/14/21.
         2
             Where KJC controls who says what and how, "Catanzarite does not care about the truth." Exhibit 35, pp. 002-005.

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     1   IV.     CONCLUSION
 2               Obstructed in two Cal. Superior Court cases and two writ proceedings using enterprise control
 3       by OGC and Governor Gavin Newsom, Plaintiff is prepared to file a motion for summary judgment
 4       using 9th Circuit case law and at least 150 evidentiary exhibits, some filed here in support, but ongoing
 5       avoidance of service combined with bad faith actions or tactics in RICO conspiracy are harming the
 6       UNITED STATES, STATE, U.S. citizens, and movant such that he requests the Court order U.S.
 7       Marshal service at U.S. expense and control its calendar in all manners to avoid prejudice to U.S.
 8              For the foregoing reasons and those set forth within his declaration and his first amended
 9       complaint at Docket #7 with Overt Acts #1-#72, movant requests the Court provide all relief by TRO,
10       none of which requires notice, although notice was given with ample time to respond.
11              As set forth within his declaration, Plaintiff is prepared to try this case on the merits, and
12       sufficiently notices the Court that the defendants have engaged in serial abuse of due process in STA TE
13       Courts using control of the enterprise at issue, namely ORANGE COUNTY SUPERIOR COURT. 18
14       U.S.C. § 1962(b). The conduct continues and will continue if TRO is not issued, and constitutional
15       violations under the Fourteenth Amendment and First Amendment are irreparable harm to citizens.
16              Every day that passes results in at least 44 more U.S. persons being subject to these ongoing
17       schemes to defraud by STATE BAR, CATANZARITE ATTORNEYS just as with Girardi-Keese, and
18       700+ CLUB carried on in deliberate violation of N.C. State Bd. of Dental Examiners v. Fed. Trade
19       Comm'n, 574 U.S. 494, (2015) as ifit were reasonable or legal. Ex. 136. It is neither, and justice must
20       be done. The instant case affects at least $3.4 trillion in annual GDP in the UNITED STATES OF
21       AMERICA, all citizens, and every Court as well as the legal profession and democracy in perpetuity.
22                               YSUBMITTED                  JANUARY 8, 2023
23
24
25
26              Movant for Temporary Restraining Order
27              Guardian Ad Litem to ROES 1-150,000
28              Guardian Ad Litem to UNITED STATES OF AMERICA


                                                           10                           22-CV-1616-BAS-DDL
